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                                                                          May 3, 2022


   VIA ECF
   District of New Jersey
   Clerk of Court

                            RE: Jasmine Mhrez v. Radius Global Solutions, LLC
                            Case No. 2:22-cv-2152

   Honorable Court:

           Please accept Plaintiff’s amended opposition to Defendant’s motion to dismiss. The
   document filed yesterday was filed in error and Plaintiff respectfully requests that the Court
   strike the motion and replace it with the attached.




                                                 Respectfully submitted,



                                                 /s/ Daniel Zemel
                                                 Daniel Zemel, Esq.
                                                 Zemel Law LLC
